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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 SUSAN M. JORDAN,

       Plaintiff,

 v.

 ACCOUNT CONTROL SYSTEMS, INC.,

      Defendant.
 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, SUSAN M. JORDAN, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.
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        4.    Defendant, ACCOUNT CONTROL SYSTEMS, INC., is a

 professional corporation and citizen of the State of New Jersey with its principal

 place of business at Suite D, 148 Veterans Drive, Northvale, New Jersey 07647.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on her

 residential telephone on or about the dates stated:

        December 10, 2009
        Hi, this message is for Susan Jordan. My name is Terri. Please call me at
        800-482-8026, extension 113 and reference file number 836922. Thank you.

        December 15, 2009
        Good day. This message is solely intended for Susan Jordan, this is Ms.
        Lord calling from ACS regarding an account here in your name. That
        account number is 836922. Please return this call, my number is 1-800-482-
        8026 extension 110. We need to finalize on this matter before it’s forwarded
        to the legal department. Thank you.

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       January 27, 2010
       This message for Susan. My name is Stacy. Please contact me immediately
       at 1-800-482-8026. My extension here is 113. When you call please refer to
       your file number, 836922. My number is 1-800-482-8026, extension 113.

       February 3, 2010
       This message is for Susan, my name is Stacy. This is my second message to
       you, it is in your best interest to get in contact with me immediately. Again
       my number here is 1-800-482-8026, extension 113. When you call have
       your account number ready, 836922. 1-800-482-8026, extension 113.

       11.   Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       12.   The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.   Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages and failed to disclose Defendant’s name.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       14.   Plaintiff incorporates Paragraphs 1 through 13.

       15.   Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.




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 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       16.    Plaintiff incorporates Paragraphs 1 through 13.

       17.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name and the

 purpose of Defendant’s communication in the telephone messages in violation of

 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

 61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September

 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga.

 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

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               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       18.     Plaintiff incorporates Paragraphs 1 through 13.

       19.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT IV
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       20.     Plaintiff incorporates Paragraphs 1 through 13.

       21.     Defendant asserted the right to collect a debt by leaving repeated

 telephone messages for Plaintiff without disclosing its name and that it is a debt

 collector and the purpose of its communications when Defendant knew it did not

 have a legal right to use such collection techniques in violation of Fla. Stat.

 §559.72(9).

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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;

              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                          COUNT V
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       22.    Plaintiff incorporates Paragraphs 1 through 13.

       23.    By failing to disclose its name, that it is a debt collector and the

 purpose of its communication, and by telephoning Plaintiff with such frequency as

 can be reasonably be expected to harass, Defendant willfully engaged in conduct

 the natural consequence of which is to harass in violation of Fla. Stat. §559.72(7).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;



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              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.

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